Case 2:05-cv-02361-SHI\/|-dkv Document 24 Filed 08/29/05 Page 1 of 6 Page|D 24

FIl.ED BY _`_ D.C.
IN THE UNITED sTATEs DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE DSAUGZQ AH'|=hg

WESTERN DIVISION
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CHRISTINE M. BELL d/b/a,
ALLEGIANCE MORTGAGE SERVICES,

Plaintiff,

vs. Nb. 05-2361Mav

INFINITY DATA CORP., and
FIRST DATA CORP.,

~v`dvv`fv`d`lf`dv

Defendants.

 

ORDER STAYING ACTION TEMPORARILY

 

A scheduling conference was held in this case on August 25,
2005. Present on behalf of the plaintiff were B.J. Wade and Scott
Shephard. Also present were Nathan Bicks and Gerard Kelly,
representing defendant First Data Corp., and Travis Parham on
behalf of Infinity Data Corp. In their proposed scheduling order,
the parties suggested a 60 day settlement period in order to
explore early resolution of this matter.

For good cause shown, the request is granted. This case is
stayed until October 27, 2005. and all formal discovery and
motions, including initial disclosure and resolution of the pending
motion to dismiss, are put on hold. The scheduling conference is
reset to October 27, 2005, at 9:30 a.m. If the case is not

resolved, the parties are directed to submit briefs to the court on

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with F?u‘.e 58 and/or 79{3) FRCP on z § Q$

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or before Tuesday, October 25, 2005. at 5:00 p.m. in support of

their respective positions on whether class discovery and merits
discovery should proceed simultaneously or be bifurcated.

IT IS SO ORDERED this 26th of August, 2005.

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IANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CV-02361 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

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Honorable Samuel Mays
US DISTRICT COURT

